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                                                              U.S. Department of Justice

                                                              United States Attorney
                                                              District of New Jersey
                                                              Civil Division
                                                       ORDER
_____________________________________________________________________________________________________________________

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                                                              September 18, 2023

Via Electronic Filing
Hon. Michael A. Shipp, U.S.D.J.
United States District Court
Clarkson S. Fisher Building
& U.S. Courthouse
402 East State Street
Trenton, NJ 08608

          Re:       Letter Requesting 14-Day Extensions of Time to Answer
                    Plaintiffs’ Complaints
                    B.Y.C.C., et al. v. United States, No. 22-cv-06586-MAS
                    J.A.L.C., et al. v. United States, No. 22-cv-06587-MAS
                    R.J.P., et al. v. United States, No. 22-cv-06588-MAS

Dear Judge Shipp:

      This Office represents Defendant the United States of America in the above-
referenced matters. We write with the consent of Plaintiffs’ counsel to respectfully
request an additional 14 days for the United States to answer GRANTED
Plaintiffs’ Complaints. The Court previously granted the United States 30-day
extensions of time to answer the Complaints. See ECF No. 33 (B.Y.C.C.); ECF No.
30 (J.A.L.C.); ECF No. 32 (R.J.P.). The current date by which the United
States must file its answer in each of the above-referenced cases is September
28, 2023. If the Court grants the United States’ 14-day extension requests, its
answers will be due on October 12, 2023. Good cause exists to grant these
extensions because this Office needs additional time to confer with the
relevant federal agencies and obtain approvals from Department of Justice
components before answering.

      If this proposal is acceptable to the Court, we respectfully request that
Your Honor “so order” this letter and have the clerk file it on the docket. Thank
you very much for your consideration of these requests.
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                                                Respectfully submitted,

                                                PHILIP R. SELLINGER
                                                United States Attorney

                                         By:    /s/ Samantha R. D’Aversa
                                                SAMANTHA R. D’AVERSA
                                                Assistant United States Attorney
                                                Attorneys for the United States

 cc:    All counsel of record
        AUSA John F. Basiak Jr.
        AUSA Angela Juneau



       IT is SO ORDERED this 19th day of September, 2023; and it is further

       ORDERED that this extension is granted for all referenced dockets
       (22-cv-06586, 22-cv-06587, 22-cv-06588); and it is further

       ORDERED that the Clerk file this Order on all referenced dockets
       (22-cv-06586, 22-cv-06587, 22-cv-06588).


       _____________________
       Douglas E. Arpert
       United States Magistrate Judge

--This Order terminates ECF No. 34 in 22-cv-06586; ECF No. 31 in 22-cv-06587; and ECF No.
33 in 22-cv-06588.




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